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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


ADRIANA NOVOA, et al.,

      Plaintiffs,

vs.                                           Case No. 4:22cv324-AW-MAF

MANNY DIAZ, JR., et al.,

     Defendants.
_____________________________/


                                 ORDER

      A motion for leave to appear pro hac vice as co-counsel for Plaintiffs

has been filed by attorney Adam Steinbaugh. ECF No. 5. The motion

demonstrates that counsel is a member in good standing of the Bar of the

Eastern District of Pennsylvania where he resides and regularly practices

law. Id. It appears that counsel has completed this Court’s local rules

tutorial, id. at 2, and the docket confirms that the $208 pro hac vice

admission fee has been paid. The motion is in compliance with N.D. Fla.

Loc. R. 11.1(C) and is GRANTED.
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      Accordingly, it is ORDERED that the motion for leave to appear pro

hac vice, ECF No. 5, is GRANTED.

      DONE AND ORDERED on September 9, 2022.



                                 S/ Martin A. Fitzpatrick
                                 MARTIN A. FITZPATRICK
                                 UNITED STATES MAGISTRATE JUDGE




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